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UNITED STATES DISTRICT COURT                       F:LECTRO~ICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                         I DOC#: ----:------
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ENRICHETTA RA VINA,
                                   Plaintiff,                          16 CIVIL 2137 (RA)

                 -against-                                               JUDGMENT

COLUMBIA UNIVERSITY A/KIA THE
TRUSTEES OF COLUMBIA UNIVERSITY IN
THE CITY OF NEW YORK AND GEERT
BEKAERT,
                     Defendants.
------------------------------------------------------------X



        It is hereby ORDERED, ADJUDGED AND DECREED: That after a Jury

Trial before the Honorable Ronnie Abrams, United States District Judge, Plaintiff Enrichetta

Ravina have judgment in the sum of $750,000.00 for compensatory damages as against

defendants Columbia University and Geert Bekaert and $500,000.00 for punitive damages as

against defendant Professor Bekaert only.


DATED: New York, New York
       August j_. , 2018


                                                                      RUBY J. KRAJICK

So Ordered:                                                            Clerk of Court



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                                                                BY:

                                                                        Deputy Clerk
